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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 MARIAM DEALMEIDA,                                  *
                                                    *
                 Plaintiff,                         *
                                                    *
                 v.                                 *       Civil Action No. 20-cv-11410-ADB
                                                    *
 LIEUTENANT TUCKER, et al.,                         *
                                                    *
                 Defendants.                        *
                                                    *

                                              ORDER

BURROUGHS, D.J.

        Pro se plaintiff Mariam Dealmeida, an inmate in custody at MCI-Framingham, initiated

this action by filing a Complaint on July 24, 2020. [ECF No. 1]. Because Dealmeida failed to

pay the filing fee or file an Application to Proceed in District Court Without Prepaying Fees or

Costs (“Application”), she was granted additional time to do so. [ECF No. 3].

        On August 17, 2020, Dealmeida filed an Application with a copy of her prison account

statement. [ECF Nos. 4, 5]. Because she failed to file signed and dated copies of her Complaint

and Application, action on her Application was deferred. [ECF No. 6]. On September 2, 2020,

the Court directed Dealmeida to file signed and dated copies of her Complaint and Application

by September 30, 2020 and advised her that failure to timely comply would result in dismissal of

this action. [Id.].

        To date, Dealmeida has not responded to the Court’s order and the time to do so has

expired. It is a long-established principle that this Court has the authority to dismiss an action

sua sponte for a party’s failure to prosecute her action and her failure to follow the Court's
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orders. Fed. R. Civ. P. 41(b). Here, dismissal is appropriate because without Dealmeida’s active

participation, the Court cannot effect the advancement of the case to a resolution on the merits.

       Accordingly, for the failure to comply with the Court’s September 2, 2020 Order, [ECF

No. 6], this action is hereby DISMISSED without prejudice.

       SO ORDERED.

October 20, 2020                                             /s/ Allison D. Burroughs
                                                             ALLISON D. BURROUGHS
                                                             U.S. DISTRICT JUDGE




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